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                April 29, 2017

                Yesterday was a very challenging day for all of us. But we would like to fully explain what
                happened.

                Billy McFarland and Ja Rule started a partnership over a mutual interest in technology, the
                ocean, and rap music. This unique combination of interests led them to the idea that, through
                their combined passions, they could create a new type of music festival and experience on a
                remote island.

                They simply weren’t ready for what happened next, or how big this thing would get. They
                started by making a website and launching a viral campaign. Ja helped book talent, and they
                had hundreds of local Bahamians join in the effort. Suddenly, they found themselves
                transforming a small island and trying to build a festival. Thousands of people wanted to
                come. They were excited, but then the roadblocks started popping up.

                As amazing as the islands are, the infrastructure for a festival of this magnitude needed to be
                built from the ground up. So, we decided to literally attempt to build a city. We set up water
                and waste management, brought an ambulance from New York, and chartered 737 planes to
                shuttle our guests via 12 flights a day from Miami. We thought we were ready, but then
                everyone arrived.

                The team was overwhelmed. The airport was jam packed. The buses couldn’t handle the
                load. And the wind from rough weather took down half of the tents on the morning our
                guests were scheduled to arrive. This is an unacceptable guest experience and the Fyre team
                takes full responsibility for the issues that occurred.

                Everyone was very concerned for our guests. They needed a place to sleep and everyone did
                their absolute best to rebuild. We took everyone to the beach and built as many tents and beds
                as fast as possible, but as more guests arrived, we were simply in over our heads. Ultimately,
                we didn’t think security could keep up, so we had to postpone the festival. The response to
                the postponement was immediate and intense. We had no other options, so we began the
                process of getting guests quickly and safely back to Miami, which continued through the
                weekend. Our top priority as a company is to ensure the comfort and safe return home of all
                of our guests.

                Then something amazing happened: venues, bands, and people started contacting us and said
                they’d do anything to make this festival a reality and how they wanted to help. The support
                from the musical community has been overwhelming and we couldn’t be more humbled or
                inspired by this experience. People were rooting for us after the worst day we’ve ever had as
                a company. After speaking with our potential partners, we have decided to add more
                seasoned event experts to the 2018 Fyre Festival, which will take place at a United States

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                beach venue.

                All festival goers this year will be refunded in full. We will be working on refunds over the
                next few days and will be in touch directly with guests with more details. Also, all guests
                from this year will have free VIP passes to next year’s festival.

                We’re grateful for the Bahamian Government and The Bahamas Ministry of Tourism for their
                assistance during this challenging time—their efforts have been exemplary. We want to thank
                the people of the Bahamas for their support and for graciously allowing us the privilege of
                visiting their islands. We apologize for any inconvenience the past 24­hours has caused and
                we look forward to making a considerable donation to the Bahamas Red Cross Society as
                part of our initiatives. We need to make this right. And once we make this right, then we will
                put on the dream festival we sought to have since the inception of Fyre.

                Thank you for all your continued patience and understanding. We apologize for what all of
                our guests and staff went through over the last 24 hours and will work tirelessly to make this
                right. Please check our official social media channels (@fyrefestival) for further important
                updates.




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